         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                       Case No. 5D2024-0758
                    LT Case No. 2022-CA-023100
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DARYL TURNER and KIMBERLY
TURNER,

    Petitioners,

    v.

MAHESH SHAH as TRUSTEE of the
RASHMI SHA IRREVOCABLE
TRUST, and HADDAWAY
ASSOCIATES, LLC d/b/a ELITE
AUCTIONS,

    Respondents.
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Petition for Certiorari Review of Order
from the Circuit Court for Brevard County,
Dale Curtis Jacobus, Judge.

John M. Stewart, of GrayRobinson, P.A., Melbourne, for
Petitioners.

Ronald D. Edwards, Jr., of Lowndes, Drosdick, Doster, Kantor &amp;
Reed, P.A., Orlando, for Respondent, Mahesh Shah.

Kelly M. Vogt, of Clausen Miller, P.C., Tampa, for Respondent,
Haddaway Associates, LLC d/b/a Elite Auctions.

                         August 23, 2024
PER CURIAM.

     DENIED. See Firstservice Residential Fla., Inc. v. Rodriguez,
261 So. 3d 674, 676 (Fla. 5th DCA 2018) (“[A] petitioner cannot
raise in a petition for writ of certiorari a ground that was not raised
below.”).

WALLIS, EISNAUGLE, and KILBANE, JJ., concur.




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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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